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INVESTMENT SERVICES
INVESTMENT BANKING

March 13, 2001

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Top Hat Plan Exemption

Pension and Welfare Benefits Administration
U.S. Department of Labor

200 Constitution Avenue, N.W., Room N-5644
Washington, D.C. 20210

Re: Dain Rauscher Wealth Accumulation Plan — Exemption for Unfunded
Pension Plan for Certain Selected Employees

Dear Sir or Madame:

This statement is filed pursuant to DOL Reg. Section 2520.104-23, in order to satisfy the
reporting requirements thereof, with respect to the Dain Rauscher Wealth Accumulation
Plan (the “Plan”), should this plan be considered a pension plan under ERISA. Dain
Rauscher Corporation, 60 South Sixth Street, Minneapolis, MN 55402-4402, EIN 41-
1228350 maintains and administers the Plan primarily for the purpose of providing
deferred compensation to a select group of its management and highly-compensated
employees. Benefits under the Plan are paid as needed solely from the general assets of
either Dain Rauscher Corporation or its parent company, Royal Bank of Canada.
Approximately 1,200 employees are currently covered by the Plan.

Very truly yours,

Brent C. Sabin
Vice President, Benefits Manager

Fite: WAP 2001 Top Hat fifing.doe

 

Dain Rauscher Plaza 612/371-2711 Dain Rauscher Incorporated
60 South 6th Street . Member MYSE/SIPC
Minneapolis, MN 55402-4422 .

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